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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK


 JOSEPH JACKSON,
                                                               SECOND AMENDED
                                      Plaintiff,               COMPLAINT

                          -against-                            Jury Trial Demanded

 NASSAU COUNTY; THE INCORPORATED                               18 CV 3007 (JS) (AKT)
 VILLAGE OF FREEPORT; DETECTIVE
 ROBERT DEMPSEY; DETECTIVE GARY
 ABBONDANDELO; DETECTIVE JOHN M.
 HOLLAND; DETECTIVE MICHAEL HERTS;
 DETECTIVE MARTIN ALGER;          POLICE
 OFFICER ROBERT MELENDEZ; DETECTIVE
 WALTER       SWENSON;         DETECTIVE
 ANTHONY KOSIER; DETECTIVE SERGEANT
 DAN SEVERIN; DORA MULLEN, AS
 ADMINISTRATOR OF THE ESTATE OF JERL
 MULLEN; JANE DOE, AS ADMINISTRATOR
 OF THE ESTATE OF ARTHUR ZIMMER; and
 JOHN and JANE DOE 1 through 20,

                                      Defendants.


        Plaintiff Joseph Jackson, by and through his attorneys, the law firm of Elefterakis,

  Elefterakis & Panek, alleges as follows:

                              NATURE OF THE ACTION

        1.     This is an action to recover money damages arising out of the violation of

  plaintiff’s rights under the Constitution.
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                                    INTRODUCTION

        2.       Plaintiff Joseph Jackson spent over 23 years incarcerated on murder and

  related charges in connection with the shooting death of Steven Jason in Freeport, New

  York on March 20, 1994.

        3.       Mr. Jackson, however, had no involvement in the crime.

        4.       As described below, the defendants caused Mr. Jackson to be wrongfully

  convicted of the crime, despite his innocence, by manufacturing eyewitness testimony

  and coercing plaintiff into falsely confessing while concealing material facts surrounding

  the murder that would have vindicated plaintiff and likely identified the true

  perpetrator.

                             JURISDICTION AND VENUE

        5.       This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, the

  Fourth, Fifth, Sixth and Fourteenth Amendments to the Constitution of the United

  States and the laws of the State of New York.

        6.       The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331,

  1343 and 1367(a).

        7.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and (c).




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                                 NOTICES OF CLAIM

        8.     Within ninety days after the claim alleged in this complaint arose, written

  notices of claim were duly served upon defendants.

        9.     At least thirty days have elapsed since the service of the notices of claim,

  and adjustment or payment of the claims has been neglected or refused.

        10.    This action has been commenced within one year and ninety days after

  the happening of the events upon which the claims are based.

                                    JURY DEMAND

        11.    Plaintiff demands a trial by jury in this action.

                                         PARTIES

        12.    Plaintiff Joseph Jackson was, at all times relevant hereto, a resident of

  Nassau County in the State of New York.

        13.    Defendant County of Nassau is a county within the State of New York. It

  operates the Nassau County Police Department (“Nassau PD” or “NCPD”), a

  department or agency of defendant County responsible for the appointment, training,

  supervision, promotion and discipline of police officers and supervisory police officers,

  including several of the individually named defendants herein.

        14.    Defendant Incorporated Village of Freeport (“Freeport”) is a village in the

  town of Hempstead within the County of Nassau. Freeport operates the Village of

  Freeport Police Department (“Freeport PD”), a department or agency of defendant
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  Freeport responsible for the appointment, training, supervision, promotion and

  discipline of police officers and supervisory police officers, including several of the

  individually named defendants herein.

         15.     Defendants Robert Melendez and Arthur Zimmer were, at all times

  relevant herein, officers, employees and agents of the Freeport PD. Defendants

  Melendez and Zimmer are sued in their individual capacities and Zimmer, who is

  deceased, is being sued through the administrator of his estate (who has not yet been

  identified).

         16.     Defendants Robert Dempsey, Gary Abbondandelo, John M. Holland,

  Michael Herts, Martin Alger, Walter Swenson, Anthony Kosier, Dan Severin and Jerl

  Mullen were, at all times relevant herein, officers, employees and agents of the Nassau

  PD. Defendants Dempsey, Abbondandelo, Holland, Herts, Alger, Swenson, Kosier,

  Severin and Mullen are sued in their individual capacities and Mullen, who is deceased,

  is being sued through the administrator of his estate, Dora Mullen.

         17.     At all times relevant defendants John and Jane Doe 1 through 20 were

  police officers, detectives or supervisors employed by the NCPD and/or Freeport PD.

  Plaintiff does not know the real names of defendants John and Jane Doe 1 through 20.

         18.     At all times relevant herein, defendants John and Jane Doe 1 through 20

  were acting as agents, servants and employees of the County of Nassau and/or Freeport.


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  Defendants John and Jane Doe 1 through 20 are sued in their individual and official

  capacities.

            19.     At all times relevant herein, all individual defendants were acting under

  color of state law.

                                 EXHIBITS TO THE COMPLAINT

            20.     Plaintiff incorporates the following exhibits in support of his complaint:1

              Exhibit 1        Transcript of Feb. 16, 2018 Proceedings
              Exhibit 2        CIU Notice of Motion to Vacate Conviction
              Exhibit 3        Affirmation of Sheryl H. Anania
              Exhibit 4        CIU Memorandum of Law in Support of Motion to Vacate
              Exhibit 5        Nassau County Supreme Court Case Record
              Exhibit 6        Letter from Plaintiff to CIU dated June 29, 2017
              Exhibit 7        Plaintiff’s 440.10(1)(g) Motion Papers
              Exhibit 8        Transcripts of Plaintiff’s Hearings and Trial Proceedings
              Exhibit 9        Peddie Jenkins Sentencing Minutes and DA Letter
              Exhibit 10       Arrest Report Concerning Plaintiff’s Arrest on 12/17/1994
              Exhibit 11       Statements Attributed to Skwanitra Witherspoon
              Exhibit 12       Statement Attributed to Plaintiff
              Exhibit 13       Order denying Plaintiff’s Appeal
              Exhibit 14       Records of Plaintiff’s Polygraph Examination*
              Exhibit 15       Rosario List
              Exhibit 16       Orders Vacating and Dismissing Plaintiff’s Indictment
              Exhibit 17       Plaintiff’s Federal Spoliation Motion Papers
              Exhibit 18       Affidavit of Richard “Woody” Miller
              Exhibit 19       Peddie Jenkins’ First Statement
              Exhibit 20       Peddie Jenkins’ Second Statement

  1
      The exhibits are accessible at                    .
  *
   Starred exhibits have been designated “confidential” by the County of Nassau, thus prohibiting
  plaintiff from publicly filing them. If it should please the Court, plaintiff has challenged these
  designations and the parties are currently conferring on the dispute. If the parties cannot reach
  agreement, plaintiff intends to seek Court intervention.
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         Exhibit 21   Statement of Maurice Larrea
         Exhibit 22   Statement of Glenn Montes
         Exhibit 23   Nassau County Response to 30(b)(6) Deposition Notice
         Exhibit 24   Morning Report*
         Exhibit 25   Detective Swenson Memo Book*
         Exhibit 26   Records of Takita Dorsey Polygraph Examination*
         Exhibit 27   Nassau County DA Records of Michael Skillings*
         Exhibit 28   Ballistic Report*
         Exhibit 29   Report of Dr. Saul Kassin in Kogut v. County of Nassau
         Exhibit 30   Nassau County DA Fusco Homicide Memorandum
         Exhibit 31   Letter acknowledging Complaint against Robert Dempsey
         Exhibit 32   Robert Moore Documents reflecting Mullen Allegations
         Exhibit 33   Shonnard Lee Records reflecting Dempsey Allegations
         Exhibit 34   [Intentionally Omitted]
         Exhibit 35   Excerpts of deposition of Robert Dempsey, Feb. 13, 2009
         Exhibit 36   Excerpts of deposition of John Restivo, June 13, 2011
         Exhibit 37   Decision of Trial Court in PSNY v. John Kogut
         Exhibit 38   Statement of Shonnard Lee
         Exhibit 39   Excerpts of deposition of Shonnard Lee, Mar. 5, 2001
         Exhibit 40   Affidavit of Robert Moore
         Exhibit 41   Excerpts of deposition of Robert Moore, Nov. 25, 1997
         Exhibit 42   Affidavit of Dorothy Lee
         Exhibit 43   Affidavit of Jeffrey Bourne
         Exhibit 44   Excerpts of deposition of Ragan Martin, Nov. 8, 2000
         Exhibit 45   Disciplinary record of Robert Dempsey (excerpt)
         Exhibit 46   March 20, 1994 Crime Scene Log
         Exhibit 47   Freeport Incident Report and Melendez Addendum
         Exhibit 48   Rough Deposition Transcript of Glenn Montes, Feb. 6, 2020
         Exhibit 49   Rough Deposition Transcript of Maurice Larrea, Feb. 6, 2020
         Exhibit 50   Notes showing Peddie Jenkins lead*
         Exhibit 51   Plaintiff’s FOIL Requests
         Exhibit 52   FOIL Response from NCDA
         Exhibit 53   Excerpts of Plaintiff’s 50-h Testimony
         Exhibit 54   News Articles
         Exhibit 55   Indictment
         Exhibit 56   Motion to Suppress Confession



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                                 STATEMENT OF FACTS

        21.       On March 20, 1994, at approximately 2:00 a.m., Glenn Montes observed

  two black men chasing Steven Jason in a parking lot adjacent to a Blimpie’s restaurant

  on Sunrise Highway and Guy Lombardo Avenue in Freeport, New York. Exhibits 3-4,

  22, 48-49.

        22.       According to Montes, the men chased Mr. Jason to the curb of Sunrise

  Highway, at which point Jason dove to the ground and Montes observed one of the

  men shoot and kill him. Id.

        23.       At the time of the shooting, Montes was driving his friend Maurice Larrea,

  then an off-duty NYPD officer, home from a bachelor party that both men had just

  attended. Id.

        24.       Mr. Montes, who directly observed the crime and the shooter, is the only

  known eyewitness to the murder. Id.




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                               Crime Scene Photo (annotated)


         25.    After witnessing the crime, Montes drove to a nearby payphone and Larrea

  jumped out and called 911, as both men later described in written statements taken by

  police. Id.

         26.    Larrea’s recorded 911 call and associated records were never obtained or

  preserved by the government, despite an affirmative duty, and have since been

  destroyed. Id.; see Exhibit 23 (DE #207).




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         27.     After speaking with 911, Maurice Larrea, who was intoxicated,

  encountered the shooter running toward him on the sidewalk of Sunrise Highway.

  Exhibits 3-4, 21-22, 49.

         28.     Larrea drew his firearm and stopped the perpetrator. Id.

         29.     Montes heard Larrea call out “that’s him, that’s the guy.” Id.; Exhibit 48.

         30.     Montes is “100% sure” that the man Larrea stopped had shot and killed

  Steven Jason moments earlier. Id.

         31.     There was only one shooter. Exhibit 28.

         32.     Montes describes the shooter as having a “dark brown face” and standing

  approximately 5’9”-5’10” with “close cut dark short hair.”2 Exhibits 3-4, 21-22, 48-49.

         33.     Moments later, the shooter ran across Sunrise Highway and North, in the

  direction of the Freeport train and fire stations, with Glenn Montes, still in his car, in

  pursuit. Id.

         34.     Around the same time, Larrea encountered a Freeport Police Officer,

  defendant Melendez, whom Larrea knew from growing up in the Village of Freeport.

  Id.

         35.     Together, defendant Melendez and Larrea canvassed the area where Larrea

  had last seen the shooter but did not locate him. Id.


  2
   Plaintiff is a very light skinned African American man standing six feet tall who had dreadlocks in
  March 1994. Id.
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        36.    After returning to the crime scene, Montes and Larrea went to the

  Freeport Police Station, where they spent several hours, leaving after 5:00 a.m. Id.

        37.    By virtue of his upbringing in Freeport, Larrea was acquainted with more

  than half a dozen of the Freeport officers who responded to the Steven Jason homicide.

  Id.

        38.    Larrea revealed his intoxication to multiple officers that night, including

  Officer Melendez and high-ranking Nassau County police supervisor defendant Dan

  Severin, with whom he joked about how drunk he was. Exhibit 49, p. 35.

        39.    Defendant Herts, of Nassau County, who took a detailed written

  statement from Larrea that night, also knew the off-duty officer was intoxicated, but

  did not include that information in the written statement he prepared. Exhibits 21, 49.

        40.    From the stationhouse, Larrea called his NYPD supervisors to report the

  off-duty incident but affirmatively misrepresented himself as having been sober when

  he drew his weapon. Exhibit 49, p. 60.

        41.    As defendants Severin, Melendez, Herts and other John Doe defendant

  investigators knew at the time, it would have been catastrophic for the budding law

  enforcement career of their friend, off-duty Officer Larrea, if the NYPD was to learn

  that Larrea had drawn his firearm while intoxicated and then lied about it to




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  commanding officers. Id. (“I’m not going to have him come and suspend me, you know,

  for being intoxicated and being involved…”).

        42.     Defendants, including Melendez, Severin, Herts and Holland – who took

  the statement from Glenn Montes – took steps to make sure that did not happen to

  Mr. Larrea by concealing evidence that might reveal Larrea’s impairment that night.

  Exhibit 15.

        43.     First, individual defendants, including Herts and Severin, altered the

  official narrative of the crime to omit any reference to Montes, Larrea or the 911 call.

  Exhibit 24.

        44.     For example, the official “Morning Report” prepared by defendants

  Severin, Herts and unidentified others hours after Montes and Larrea had left the

  stationhouse makes no mention of these eyewitnesses or their account. Id.

        45.     Second, defendants, including Abbondandelo, Dempsey and Mullen,

  corrupted the account of Skwanitra Witherspoon, a woman allegedly in the vicinity of

  the shooting but who had not observed it, to suggest that Witherspoon had been the

  sole eyewitness and had identified plaintiff as the perpetrator. Exhibit 11.

        46.     As the Nassau County District Attorney Conviction Integrity Unit

  (“CIU”) noted in its motion to dismiss the indictment decades later, the account




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  defendants ultimately attributed to Skwanitra Witherspoon is squarely contradicted by

  the first-hand account of Glenn Montes. Exhibit 4, p. 3.

        47.    Defendants’ concealment of evidence persisted through plaintiff’s trial,

  and the existence of Montes and Larrea, and their 911 call, were never disclosed, as

  illustrated by the false sworn testimony of lead homicide detective defendant Gary

  Abbondandelo at a hearing on November 8, 1995:

        Q:     Detective, I’m going to direct your attention to the on-the-scene
               investigation that you discussed, which took place on March 20, 1994
               regarding the death of Steven Jason?
        A:     Yes, sir.
        Q:     Can you tell me what detective from the homicide squad was assigned to
               the investigation?
        A:     I was, sir.
        Q:     You were the primary detective; is that right?
        A:     Yes, sir.
        Q:     During the course of your investigation at the scene, did you determine
               whether there were any eyewitnesses to this incident?
        A:     Yes, sir.
        Q:     Can you tell me how many eyewitnesses were identified as eyewitnesses to
               this incident?
        A:     There was one, to my knowledge.
        Q:     Was that Ms. Witherspoon?
        A:     That’s correct.

  Exhibits 8, 17, 21-23, 46; see also Exhibits 3-4.




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            48.     Third, defendants, including Nassau County detective defendant Walter

  Swenson, suppressed evidence that might have led back to Larrea (or Montes),

  including, for example, the account of Elisa Valdez, who reported to defendant Swenson

  on March 23, 1994 that she and her boyfriend had heard shots fired and seen an

  automobile in pursuit of a male suspect heading Northbound the night before,

  consistent with the accounts of Montes and Larrea. Exhibits 15, 25.

            49.     The individual defendants, including Swenson, concealed the existence of

  Ms. Valdez, her companion and the information these witnesses possessed and never

  disclosed documents, including Swenson’s memo book, that would have led to the

  discovery of these witnesses. Exhibits 15, 25.

            50.     Other exonerative evidence was also suppressed and concealed from

  plaintiff, including a 36-minute recorded interview on June 6, 1994 between defendant

  Arthur Zimmer, then a detective in the Freeport Police Department, and Peddie

  Baldwin, a potential eyewitness to the homicide.1

            51.     In the suppressed recorded conversation, Baldwin provides several leads

  that support plaintiff’s innocence, and Baldwin notes being present for the crime (along

  with others) and observing the perpetrator as a 5’8” Puerto Rican.




  1
      Accessible at https://bit.ly/2Ul4Hs9.
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         52.     All witnesses known to have been in the vicinity of the Steven Jason

  homicide describe seeing a man shorter than 5’10”, with several of them describing the

  man as 5’7”.

         53.     As indicated above, Mr. Jackson is a six-foot-tall, light skinned African

  American man who had dreadlocks in March 1994. Exhibits 3-4.

         54.     Defendants’ suppression of the Zimmer-Baldwin Interview and statement

  of Elisa Valdez, alongside the suppressed Montes/Larrea/911 evidence, constitute Brady

  violations.




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        55.    The theory of the crime ultimately developed by police is at fundamental

  odds with the account of Montes, Larrea and Valdez and involves a perpetrator fleeing

  Southbound in a vehicle instead of Northbound on foot. See Exhibit 12.




        56.    In or about October 1994, Peddie Jenkins, plaintiff’s cousin who is

  approximately 5’8” with darker skin, was reported to police after he was overheard



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  bragging at his high school that he had been involved in the Steven Jason murder.

  Exhibit 50.

         57.    Jenkins, who had open criminal cases and is a known liar, was arrested and

  allegedly provided a statement to defendants Dempsey, Mullen and Abbondandelo on

  November 15, 1994.

         58.    Jenkins’ alleged 11-page November 15th statement is an admitted

  fabrication in which Jenkins claims he did not observe the murder, but personally

  facilitated it. Exhibit 19.

         59.    In the statement, Jenkins, likely the perpetrator, admits to fleeing

  Northbound toward E. Dean Street on foot after the crime was committed, consistent

  with the shooter’s direction of flight according to Montes, Larrea and Valdez. Id.

         60.    Without ever consulting with Montes or Larrea or investigating the crime

  as it took place – and as in other documented cases involving the same defendant officers

  – defendants Mullen, Abbondandelo, Dempsey, Alger and John Doe others corruptly

  coordinated the accounts of Peddie Jenkins and Skwanitra Witherspoon to manufacture

  the identification of Joseph Jackson as the alleged perpetrator, notwithstanding stark

  disparities in, inter alia, height, complexion, and hairstyle.




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          61.     Indeed, had Glenn Montes been appropriately consulted, Mr. Montes

  would have exonerated plaintiff and made plaintiff’s conviction impossible; defendants

  did not consult Mr. Montes. Exhibits 48, 2-4.

          62.     Three days later defendants, including Abbondandelo, Dempsey, Mullen

  and Alger, caused Peddie Jenkins to prepare a second 15-page statement with a wholly

  different account. Again, the second statement contains admissions of Jenkins’

  participation in the crime, but this later statement includes the allegation that Jenkins

  observed plaintiff commit the murder.3 Exhibit 20.

          63.     In exchange for the statement and testimony against plaintiff, Jenkins was

  only charged with criminal facilitation and, on the State’s recommendation, received a

  very lenient sentence on that charge.4 Exhibit 9.

          64.     Consistent with prior allegations as outlined below, defendants, including

  Alger, Abbondandelo, Mullen, Herts, Dempsey and Swenson also attempted to




  3
    In both statements (and in his trial testimony), Jenkins describes Steven Jason as being alone when
  leaving the American Legion Hall and at the time of his death, irreconcilably contradicting Skwanitra
  Witherspoon’s narrative.
  4
   The deal given to Peddie Jenkins in 1997 left him free to commit other crimes. See Lehman, Don,
  THE POST STAR, Feb. 16, 2002, Man gets seven years in prison for stabbing (accessible at:
  https://bit.ly/2wAB8Wd) (“Police said [Peddie Jenkins] went into the apartment and was waiting for
  [his girlfriend] that morning, sparking a dispute that ended with him chasing [his girlfriend] - carrying
  one of the couple’s two young children - down a flight of stairs and into the street, stabbing her in the
  back at least twice with a kitchen knife.”).
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  persuade others, including Richard “Woody” Miller, a barber, and two brothers, Tyrone

  and Roy Isaac, to falsely implicate plaintiff in the Steven Jason murder. Exhibit 18.

         65.    Realizing that Woody’s testimony exonerated Mr. Jackson, detectives

  suppressed it. Id.

         66.    On December 17, 1994, Mr. Jackson was arrested and brought to the

  Nassau County Homicide squad for interrogation by defendants, including Robert

  Dempsey, Gary Abbondandelo, Anthony Kosier and Jerl Mullen. Exhibit 10.

         67.    Even though these defendants knew that plaintiff was represented by

  counsel, they acted to intentionally circumvent and deny plaintiff his right to counsel,

  so that a false confession could be extracted from him. Exhibit 56.

         68.    Defendants, including Severin and John Doe others, provided false

  information to Mr. Jackson’s relatives while he was in custody to prevent them from

  learning his whereabouts and obtaining counsel for him. Exhibit 8 at, e.g., P1062-64.

         69.    While isolated over the course of thirty-nine hours, defendants Dempsey,

  Mullen and Abbondandelo beat and threatened plaintiff and, along with defendant

  Kosier and John Doe others, lied to and coerced plaintiff into signing a fifteen-page

  false confession written by defendant Dempsey. Id.




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        70.     These defendants subjected plaintiff to inhumane treatment including

  forcing him to spend several hours in a frigid interrogation room while stripped to his

  underwear. Id.

        71.     The resulting false confession, attributed to Mr. Jackson, is provably false.

        72.     First, it conflicts with the direct observations of Glenn Montes inasmuch

  as plaintiff bears no physical resemblance to the perpetrator.

        73.     Second, it contradicts eyewitnesses Maurice Larrea, Glenn Montes and

  Elisa Valdez, as each reported a black male fleeing Northbound on foot, as opposed to

  Southbound by car.

        74.     Third, it is broadly discredited by the polygraph results of Takita Dorsey

  who, according to the false confession, was a key player in the murder conspiracy.

  Exhibit 26.

        75.     As in other tragic cases with which these defendants have been involved,

  Mr. Jackson did not author the statement attributed to him.

                PRIOR SIMILAR ALLEGATIONS OF MISCONDUCT

        76.     Plaintiff’s mistreatment was not an isolated incident. Similar misconduct

  by the defendants involved in plaintiff’s interrogation have been the subject of

  numerous lawsuits, civil settlements, news reports and excoriating judicial opinions.

                [T]he County had almost immediate notice that Restivo had
                been physically assaulted during his interrogation, yet no

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              investigation was made into Restivo’s allegations (R/H Stmt.
              of Disputed Facts ¶¶ 59–65); credible allegations that
              detectives planted hair evidence in Restivo’s van surfaced at
              Restivo and Halstead’s 1986 criminal trial, yet the County
              conducted no investigation (id. ¶¶ 67–70); in 1995, the
              County learned that Volpe elicited a false confession from a
              murder suspect (which eventually resulted in a civil
              settlement) but did not investigate or discipline him (id. ¶¶
              71–76); in 2004, a civil jury found that Dempsey was
              responsible for malicious prosecution of a suspect from
              whom Dempsey had elicited a false confession, but Dempsey
              was never investigated or disciplined (id. ¶¶ 77–87); the
              County settled a 2002 civil suit arising out of an alleged 2001
              false confession of a suspect in a different murder
              investigation (id. ¶¶ 88); see also Martinez v. Cnty. of
              Nassau, No. 02–CV–4985 (JS) (WDW)); and, prior to the
              Fusco investigation, a manslaughter conviction was reversed
              because of an illegal confession obtained by NCPD
              detectives, see People v. Evans, 70 A.D.2d 886, 888, 417
              N.Y.S.2d 99, 101 (2d Dep’t 1979).

              This evidence—especially the failure to investigate or
              discipline detectives involved in false confessions—suggests
              that the County had a “custom whereby it acquiesced in
              unconstitutional conduct by its officers.” Okin, 577 F.3d at
              440. Detectives chiefly argue that evidence concerning the
              three false confession cases that followed the Fusco
              investigation cannot establish what the County’s policy was
              years earlier in 1985. (Def. Reply 12–13.) In the Court’s
              view, however, these later cases can be probative of
              policymakers’ attitudes at the time of the Fusco
              case. Jones, 2012 WL 3104523, at *10 (“It is not
              unreasonable to infer that Town officials who were
              indifferent to such abuse in 2000 might have held similar
              attitudes three years earlier.”); see also Chepilko v. City of
              N.Y., No. 06–CV–5491, 2012 WL 398700, at *15
              (E.D.N.Y. Feb. 6, 2012) (“Subsequent or contemporaneous
              conduct can be circumstantial evidence of the existence of

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               preceding municipal policy or custom.”). Obviously the gap
               between the initial Fusco investigation and the later
               false confession cases is greater than the three-year gap
               discussed in Jones, but at least two of the later cases involved
               detectives (Volpe and Dempsey, respectively) who had a
               hand in the Fusco case. And, in any event, the timing is a
               matter of weight for the jury.

  Kogut v. Cty. of Nassau, 06 CV 6695 (JS) (WDW), 2012 WL 3704710, *2-3

  (E.D.N.Y. Aug. 27, 2012); see Exhibits 29-33, 35-45, 54.

        77.    At his deposition on June 14, 2011, John Restivo testified about his own

  experience in the interrogation room with defendant Dempsey:

               After being assaulted by defendant Dempsey, I demanded to
               leave. They wouldn’t let me leave. I demanded to make a
               phone call. They wouldn't let me make a phone call. I
               demanded to make a phone call to a lawyer. They told me I
               didn't need a lawyer. They told me “You don’t have any
               rights here.”

        78.    On June 17, 1997, high school student Shonnard Lee was arrested, taken

  to NCPD headquarters, and placed in the hands of Dempsey and another detective,

  who proceeded to interrogate him for seven hours without first advising him of his

  Miranda rights. The detectives interrogated him about the murder of Sammy Jones;

  when he denied any knowledge and told them he had been with his brother that night,

  the detectives called him a liar, screamed at him, and abused him until Lee broke down

  crying. They also denied his repeated requests to contact his mother and an attorney.




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        79.    Lee’s mother called the NCPD headquarters repeatedly during his

  interrogation and was told that they had no information about him. Finally, after

  midnight, a detective admitted to her that Lee was at the homicide bureau. Lee’s mother

  told the detective she spoke to that Lee was represented by counsel and that she wished

  to speak to Lee immediately. She was not allowed to speak to Lee and the interrogation

  continued.

        80.    Finally, Dempsey left the room, came back with some paperwork, and

  told Lee that he needed to sign the pages if he wanted to go home. Lee signed at 1:20

  a.m., having been in custody for almost 7 hours. That paperwork contained a document

  handwritten by Dempsey purporting to be a statement by Lee confessing to having

  murdered Jones with a baseball bat.

        81.    Lee never gave any such statement.

        82.    Dempsey also interrogated one of Lee’s friends, Tajuan Crum, without

  giving him his Miranda warnings, and even after confirming Crum’s alibi, threatened

  Crum that he would be charged himself unless he signed a statement, written by

  Dempsey, implicating Lee. “Scared to death,” Crum signed the statement.

        83.    Additionally, Dempsey falsified a statement from Winona Hammonds,

  falsely reporting that she had told Dempsey that she overheard Crum and Lee bragging

  about killing Jones.


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           84.   Additionally, Dempsey suborned another witness, Jeffrey Bourne, into

  giving false testimony against Lee alleging that Lee had told Bourne he killed Sammy

  Jones.

           85.   Dempsey did all this despite the fact that four months before Lee’s arrest

  another witness, Ragan Martin, identified Sammy Jones’s killer for Dempsey as Corey

  Jones, also known as “Sha” and “Corey.” Martin subsequently showed Dempsey Corey

  Jones’s house, where one of the detectives took a photo of Jones’s Camaro, and also

  identified Corey Jones from a photo lineup; that lineup included Lee, but Martin did

  not identify Lee as involved in the murder.

           86.   Lee was charged, indicted, tried and acquitted. At Lee’s criminal trial,

  Dempsey testified that Lee had admitted to the murder, but the jury acquitted Lee.

           87.   Lee then brought a civil suit, and in the civil suit, a jury determined that

  Dempsey maliciously prosecuted Lee and awarded Lee $750,000 in compensatory and

  $1,250,000 in punitive damages.

           88.   Despite this finding by a civil jury that Dempsey had committed serious

  misconduct, Nassau County never investigated or disciplined Dempsey.




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                     THE SCIENCE OF FALSE CONFESSIONS

  “Our distrust for reliance on confessions is due, in part, to their decisive impact upon
  the adversarial process. Triers of fact accord confessions such heavy weight in their
  determinations that the introduction of a confession makes the other aspects of a trial
  in court superfluous, and the real trial, for all practical purposes, occurs when the
  confession is obtained. No other class of evidence is so profoundly prejudicial. Thus the
  decision to confess before trial amounts in effect to a waiver of the right to require the
  state at trial to meet its heavy burden of proof.”

  Colorado v. Connelly, 479 U.S. 157, 182 (1986) (Brennan, J., dissenting) (citations
  and quotation marks omitted).

        89.    New York State has an above-average rate of false confessions.

        90.    In exonerations based on DNA evidence in New York State, of which

  there have been approximately thirty, false confessions appear in nearly 50% of cases.

        91.    The best scientific estimate of the nationwide false confession rate is in the

  range of 20-25%, with a much higher rate in murder cases.

        92.    The leading academic researcher is Professor Saul M. Kassin, of the John

  Jay College of Criminal Justice and Williams College, who, in 1985, with Lawrence S.

  Wrightsman, established a framework of three types of false confessions: voluntary,

  compliant and internalized, that has gained widespread acceptance.

        93.    According to Professor Kassin, a compliant false confession is where “the

  suspect acquiesces in order to escape from a stressful situation, avoid punishment, or

  gain a promised or implied reward.” Such false confessions are common even in the

  absence of physical violence, which guarantees them.


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         94.    The quintessential compliant false confession case is that of the Central

  Park Five, youths who in 1989 were convinced by detectives that they would be brought

  straight home if they falsely admitted to peripheral involvement in a jogger’s brutal rape.

  The teens were instead convicted and sentenced, only to be exonerated years later

  through DNA evidence.

         95.    Even when conducted legally, American-style police interrogation is a

  psychologically oriented, guilt-presumptive process in which lying is permitted and

  suspects are intentionally isolated and confronted.

         96.    The literature describes police interrogation as an inherently asymmetrical

  social interaction “led by an authority figure who holds a strong a priori belief about the

  target and who measures success by the ability to extract an admission from that target.”

         97.    Researchers have identified “situational risk factors,” that increase the

  likelihood of false confession, including the presentation of false evidence, extended

  interrogations without rest, and the use of misinformation.

         98.    In replicable peer-reviewed experiments, innocent individuals presented

  with false evidence are found nearly twice as likely to give a false written confession,

  doing so at a rate of 94%.

         99.    A suspect’s profile may also increase their “dispositional vulnerability,” or

  the likelihood that they will succumb to even legal interrogation tactics.


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         100. Another identified cause of false confessions is the inability of police

  interrogators to accurately recognize when someone is lying. Studies show that law

  enforcement officers have little to no increased ability to detect false statements.

         101. Kassin tells the story of Jeffrey Deskovic, who spent 15 years in prison

  after he falsely confessed to a murder before being exonerated by DNA evidence. In

  relenting to pressure and offering a false confession, Deskovic believed that “truth and

  justice would prevail” and that his innocence would be discovered: “I thought it was all

  going to be okay in the end.”

           DEPRIVED OF A FAIR TRIAL, PLAINTIFF IS CONVICTED

         102. In their nefarious scheme to wrongfully convict plaintiff (and protect

  fellow officer Larrea), defendants never disclosed to prosecutors (or plaintiff) the

  evidence of what really happened on the night of the murder, including the Montes and

  Larrea statements, the 911 evidence, Elisa Valdez’s statements, the Zimmer-Baldwin

  interview or their own misconduct in coercing plaintiff’s “statement,” causing his

  misidentification by Skwanitra Witherspoon and fabricating inculpatory evidence

  purportedly attributed to the Isaac brothers and Peddie Jenkins.

         103. Plaintiff was convicted on the basis of the coerced false confession and

  statements manufactured by defendants to fit a false narrative at odds with objective

  evidence.


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        104. No forensic evidence of plaintiff’s guilt was ever adduced or offered;

  indeed, none exists.

        105. Nevertheless, on December 9, 1996, following a jury trial in Nassau

  County, plaintiff Joseph Jackson was convicted of Murder in the Second Degree,

  Intimidating a Victim or Witness in the First Degree and Hindering Prosecution in the

  Second Degree. Exhibits 5, 8, 13.

        106. Mr. Jackson was sentenced on March 7, 1997 (Boklan, J.) to 25 years to

  life on the murder count and lesser sentences on the other charges. Exhibits 5, 8, 13.

   DECADES LATER, THE CIU INVESTIGATES AND MOVES TO DISMISS

        107. In 2017, at Mr. Jackson’s request, the CIU investigated plaintiff’s case and

  confirmed that the Montes and Larrea statements had been suppressed and had been

  maintained in the files of both the Freeport and Nassau County Police Departments.

  Exhibits 1, 3-4, 6.

        108. The CIU’s investigation is detailed in a memorandum of law and

  affirmation of Executive Assistant Nassau County District Attorney Sheryl H. Anania

  dated February 14, 2018. Exhibits 3-4.




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        109. On February 14, 2018, based on its investigation and after Mr. Jackson

  had served over two decades of his sentence, the CIU moved to vacate the conviction.

  See Exhibits 2-4.

        110. No evidentiary hearing was held on the motion, but Mr. Jackson was

  brought before a Nassau County Supreme Court Judge on February 16, 2018. See

  Exhibit 1.

        111. The court vacated the conviction, dismissed the indictment and freed Mr.

  Jackson. Exhibits 1, 16.

        112. Between his arrest on December 17, 1994 and his release on February 16,

  2018, Mr. Jackson spent eight thousand four hundred and sixty-three days (twenty-

  three years and two months) in custody.

         DEFENDANTS’ MALICE AND DELIBERATE INDIFFERENCE

        113.    As described above, defendants withheld exculpatory evidence, corruptly

  influenced witnesses, coerced a confession from plaintiff and concealed the misconduct

  that pervaded the investigation.

        114. Defendants knew or should have known that they did not have probable

  cause to arrest and prosecute plaintiff because they deliberately used constitutionally

  impermissible practices to manufacture evidence against him that they knew to be false,


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  and that was contradicted by withheld exculpatory evidence. There was no physical,

  circumstantial or credible testimonial evidence linking plaintiff to the crime.

  Nevertheless, defendants caused plaintiff to be charged with and convicted for the death

  of Steven Jason.

        115. Defendants procured an indictment against plaintiff in bad faith and

  conspired to charge him with murder and other crimes, also in bad faith.

   NASSAU COUNTY AND FREEPORT’S UNCONSTITUTIONAL POLICIES

        116. The unconstitutional and tortious acts of the defendant officers were

  not isolated incidents. Upon information and belief, there was a custom, policy,

  pattern and practice of Nassau County and Freeport beginning years before the

  unjust conviction of Mr. Jackson and continuing throughout his incarceration, of

  condoning, encouraging, ratifying and acquiescing in the practice of failing to

  conduct    reasonable    criminal    investigations,   conducting     unconstitutional

  interrogations, fabricating evidence including confessions and evidence supporting

  probable cause, committing perjury, failing to investigate alibi evidence, coercing

  confessions, failing to disclose exculpatory evidence and covering up this

  unconstitutional misconduct. Upon information and belief, Nassau County and




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  Freeport policymakers were on notice of, but deliberately indifferent to these

  unconstitutional customs, policies and practices.

         117. Upon information and belief, Nassau County and Freeport, and their

  policymakers, as well as the individual supervisors in this case, failed to train or

  supervise investigators to ensure they complied with constitutional requirements in

  eliciting confessions, disclosing favorable evidence to prosecutors, and obtaining

  probable cause for arrest and for prosecution, and that they did not fabricate

  evidence or commit perjury.

         118. Upon information and belief, Nassau County and Freeport, through

  their final policymakers, failed to adequately screen, supervise, and/or discipline

  detectives, officers, and investigators.

         119. As a direct and proximate consequence of the aforementioned actions by

  the defendants, plaintiff suffered over twenty-three years of imprisonment. During his

  incarceration, he sustained a variety of physical and emotional injuries.

                      PLAINTIFF’S INJURIES AND DAMAGES

         120. Mr. Jackson suffered severe emotional and mental anguish and pain as a

  result of being punished for crimes he did not commit. He was denied effective

  treatment for his emotional injuries while incarcerated and continues to suffer mental

  anguish to this day. For example, plaintiff fears police contact and his everyday activities

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  are limited and disrupted by the traumas he has suffered in this case. He was imprisoned

  when his grandmother—with whom he had an extremely close relationship before he

  was incarcerated—passed away. He was likewise incarcerated when a young niece passed

  away from cancer.

        121. Plaintiff was also denied the opportunity to pursue normal relationships

  with, and to enjoy the companionship of, family members and friends. While he was

  incarcerated, he was denied the opportunity to spend quality time with his family and

  to develop relationships with his children.

        122. Plaintiff was denied decades of gainful employment and income. His

  earning power and ability to support himself have been permanently hampered by the

  years of productive work experience his wrongful imprisonment denied him.

        123. Plaintiff has been publicly shamed, disgraced, ridiculed, and humiliated,

  in the most extreme manner possible. He was a figure of regional outrage and disdain,

  for events in which he had no part. Nothing can undo the reputational damage he has

  sustained.

        124. Plaintiff and his family incurred substantial legal fees during the decades

  he spent seeking to defend himself and prove his innocence.

        125. Additionally, Mr. Jackson claims, inter alia, loss of liberty; loss of

  enjoyment of life; continuing pain and suffering, including post-incarceration


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  psychological issues; post-incarceration mental health treatment costs; lost earnings

  while incarcerated; impaired earning capacity and limitations on future employment

  opportunities;       emotional    distress;   humiliation;    indignities;   embarrassment;

  degradation; physical injuries and lack of access to health care while incarcerated;

  attorneys’ fees, and other pecuniary losses; and past pain and suffering; loss of family

  relationships; and loss of reputation.

                                       FIRST CLAIM
                                § 1983 Malicious Prosecution
               (against defendants Abbondandelo, Dempsey, Mullen and Severin)

            125. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

            126. Defendants acting deliberately and with malice, initiated and took

  steps to continue the criminal prosecution of Mr. Jackson, without probable cause

  or other legal justification, by fabricating and coercing a confession they falsely

  attributed to Mr. Jackson and failing to disclose their misconduct as well as key

  exculpatory Brady material, in knowing disregard of Mr. Jackson’s constitutional

  rights.

            127. There was not even arguable probable cause to arrest or prosecute Mr.

  Jackson, and no reasonable officer would have believed there was.

            128. Defendants were obligated to, but did not, disclose Brady material.

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        129. Defendants corruptly influenced witnesses in support of the

  prosecution.

        130. The prosecution ultimately terminated in Mr. Jackson’s favor when his

  conviction was vacated and the indictment against him was dismissed.

        131. As a direct and proximate result of individual defendants’ misconduct,

  Mr. Jackson was wrongfully convicted and suffered the injuries and damages

  described above.

                                 SECOND CLAIM
      Fabrication of Evidence in Violation of 4th, 5th, 6th and 14th Amendments
    (against defendants Abbondandelo, Dempsey, Mullen, Alger, Kosier and Severin)

        132. Plaintiff repeats and realleges each and every allegation as if fully set

  forth herein.

        133. Defendants deliberately fabricated evidence by manufacturing a

  statement and forcing Mr. Jackson to adopt it in written form and then

  misrepresenting to prosecutors, in conjunction with their own perjurious

  testimony, that the statements had originated with Mr. Jackson.

        134. Likewise, defendants manufactured the identification of plaintiff by

  Skwanitra Witherspoon and allegedly inculpatory statements from Peddie Jenkins,




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  the Isaac brothers and attempted to obtain such a statement from Richard “Woody”

  Miller.

        135. Defendants intentionally withheld exculpatory evidence from plaintiff

  and denied and concealed the existence of key witnesses in direct contravention of

  plaintiff’s constitutional rights.

        136. Defendants also tampered with witness testimony in their effort to

  frame and falsely convict plaintiff.

        137. Such fabrication of evidence violated Mr. Jackson’s clearly established

  Fifth, Sixth and Fourteenth Amendment rights to a fair trial and not to be deprived

  of liberty without due process of law.

        138. As a direct and proximate result of the individual defendants’

  fabrications, Mr. Jackson was wrongfully convicted and suffered the injuries and

  damages described above.

                                   THIRD CLAIM
                                   § 1983 Coercion
            (against defendants Abbondandelo, Dempsey, Mullen, and Kosier)

        139. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.




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        140. Defendants isolated Joseph Jackson – denying him the right to counsel,

  which had attached – and engaged in, inter alia, a deliberate course of lies, trickery

  and deceit, threatening and inflicting bodily harm on plaintiff, giving him false

  assurances of leniency and making false promises to him.

        141.   Then, despite his protestations of innocence, in a custodial

  interrogation in which Miranda warnings and counsel were withheld, plaintiff’s will

  was ultimately overborn, and defendants induced Mr. Jackson to sign the statement

  defendants had prepared, falsely incriminating himself in violation of his clearly

  established Fifth and Sixth Amendment rights to be free from compelled self-

  incrimination and to be afforded access to counsel.

        142. Defendants’ coercive and conscience-shocking interrogation tactics

  generated false and unreliable evidence used against Mr. Jackson at trial, causing his

  wrongful conviction and all the injuries set forth above.

                                   FOURTH CLAIM
                              § 1983 Supervisory Liability
            (against defendants Severin and John Doe Supervisory defendants)

        143. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

        144. Supervisors, acting deliberately, recklessly and under color of law, were,

  at the relevant times, supervisory personnel with the NCPD or Freeport PD, with
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  oversight responsibility for training, hiring, screening, instruction, supervision and

  discipline of the detectives and police officers who deprived Mr. Jackson of his

  clearly established constitutional rights.

        145. The supervisors were personally involved in both the deprivation of

  Mr. Jackson’s constitutional rights and in creating or condoning the policy or

  custom of failing to take preventative and remedial measures to guard against such

  constitutional deprivations.

        146. The supervisors were reckless in their failure to supervise the

  subordinate defendants, and either knew or should have known that defendant

  officers were maliciously prosecuting civilians, deliberately failing to investigate

  evidence pointing to other leads or suspects, fabricating and coercing confessions,

  suppressing exculpatory evidence, perjuring themselves as witnesses, and depriving

  civilians of due process of law.

        147. These supervisory defendants knew or in the exercise of due diligence

  would have known that the conduct of the named and Doe defendants against Mr.

  Jackson was likely to occur.

        148. The failure of these supervisory defendants to train, supervise and

  discipline the named individual defendants and the Doe defendants amounted to


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  gross negligence, deliberate indifference or intentional misconduct, which directly

  caused the injuries and damages set forth above.

                                   FIFTH CLAIM
             Monell Custom and Policy and Failure to Supervise or Train
              (against defendants Nassau County and Village of Freeport)

        149. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

        150. The County of Nassau and Freeport, by and through their final

  policymakers, had in force and effect during the Jason investigation and for years

  beforehand, a policy, practice or custom of conducting constitutionally inadequate

  investigations; fabricating inculpatory evidence; perjury; failing to obtain probable

  cause to ensure that suspects would not be falsely arrested and maliciously

  prosecuted; suppressing from prosecutors material information favorable to

  criminal defendants; failing to follow the duties imposed by Brady v. Maryland; and

  using unconstitutional interrogation tactics.

        151. The County of Nassau and Freeport systemically failed to train their

  police officers, detectives and investigators to conduct constitutionally adequate

  investigations; not to lie about their conduct; to accurately document the manner in

  which interrogations were conducted when confessions were elicited; to obtain

  probable cause to ensure that suspects would not be falsely arrested and maliciously
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  prosecuted; to disclose to prosecutors material information favorable to criminal

  defendants; and to refrain from unconstitutional interrogation tactics and perjury.

           152. The County of Nassau and Freeport failed to adequately supervise their

  police officers, detectives and investigators in conducting constitutionally adequate

  investigations; accurately documenting the manner in which interrogations were

  conducted when confessions were elicited so that confessions were not fabricated;

  obtaining probable cause to ensure that suspects would not be falsely arrested and

  maliciously prosecuted; disclosing to prosecutors material information favorable to

  criminal     defendants;   testifying   truthfully;   and   refraining   from   using

  unconstitutional interrogation tactics. Officers knew that in this climate of lax

  supervision, they were free to deviate from constitutional requirements in these

  areas.

           153. The County of Nassau and Freeport, by and through their final

  policymakers, failed to adequately discipline their police officers for investigative

  wrongdoing, though it was foreseeable that constitutional violations of the type Mr.

  Jackson suffered would be a predictable result of such failures.

           154. As set forth above, final policymakers for the County of Nassau and

  Freeport had actual or constructive notice of such failures to train, supervise and


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  discipline their employees, and failed to provide training or supervision despite an

  obvious need for such training and supervision, where defendants knew that it was

  foreseeable that detectives, officers, and investigators would predictably confront

  these situations and as a result of the failure to train and supervise, constitutional

  violations would result.

        155. Such failures to train, supervise and discipline, and such

  unconstitutional governmental customs, practices and/or policies, amounted to

  deliberate indifference to the constitutional rights of criminal defendants like Mr.

  Jackson, and were the moving force behind his false, coerced and fabricated

  confession and the failure to disclose Brady that caused his arrest, prosecution, and

  incarceration, as well as all the ongoing injuries and damages set forth above.

                                      SIXTH CLAIM
                              State Law Malicious Prosecution
            (against Nassau County and Village of Freeport by respondeat superior)

        156. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

        157. Defendants, lacking probable cause, nonetheless intentionally, recklessly,

  and with malice, caused Mr. Jackson to be arrested, prosecuted, and convicted of

  murder and related charges.



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        158. Defendants initiated and commenced the prosecution, and took steps to

  ensure that it continued.

        159. Furthermore, the defendant officers intentionally withheld from and

  misrepresented to prosecutors facts vitiating probable cause against Mr. Jackson,

  including, inter alia, the Larrea and Montes statements.

        160. As Mr. Jackson has maintained from the outset, he is innocent of any

  wrongdoing and had no knowledge of or participation in the charged crimes.

        161. The prosecution finally terminated in Mr. Jackson’s favor when his

  conviction was vacated and the indictment against him dismissed.

        162. As a direct and proximate result of defendants’ actions, Mr. Jackson was

  wrongly prosecuted, convicted and imprisoned for over twenty-three years, and suffered

  other grievous and continuing damages and injuries set forth above.

                                    SEVENTH CLAIM
                               State Law False Imprisonment
            (against Nassau County and Village of Freeport by respondeat superior)

        163. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

        164. Defendants intended to confine Mr. Jackson, and, lacking probable

  cause or any other privilege, curtailed his liberty by arresting him and taking steps




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  to ensure he was imprisoned on the basis of false evidence and without legal

  justification.

         165. Mr. Jackson was conscious of the confinement, and did not consent to

  it.

         166. As a direct and proximate result of defendants’ actions, Mr. Jackson

  was wrongly arrested and falsely imprisoned from December 17, 1994, until he was

  finally released on February 16, 2018, and suffered the other grievous and

  continuing damages and injuries set forth above.

                                     EIGHTH CLAIM
                  Intentional or Negligent Infliction of Emotional Distress
            (against Nassau County and Village of Freeport by respondeat superior)

         167. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

         168. The deliberate conduct of the defendants in coercing and fabricating a

  false confession for a murder they knew Mr. Jackson did not commit, their ensuing

  refusal to investigate the matter properly, and their cover-up of the truth,

  perpetuated in public statements over many years, constitutes the intentional

  infliction of emotional distress.

         169. In the alternative, defendants’ conduct in coercing and fabricating a


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  false confession and covering up the truth breached a duty of care owed to Mr.

  Jackson as a citizen and as a criminal suspect, which unreasonably endangered his

  physical safety and caused him to fear for his own safety, constituting the negligent

  infliction of emotional distress.

        170. Defendants’ conduct, falsely implicating Mr. Jackson in the Jason

  murder and subjecting him to public stigma to this day notwithstanding the

  dismissal of charges against him, caused Mr. Jackson to suffer ongoing,

  unimaginable emotional distress and traumatic psychological sequelae.

                                    NINTH CLAIM
                                   § 1983 Conspiracy
                            (against all individual defendants)

        171. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

        172. The Nassau County and Freeport individual defendants agreed to violate

  provisions of the state and federal constitution and cause the wrongful conviction of

  Joseph Jackson.

        173. The individual defendants took several overt acts in furtherance of their

  agreement, including the suppression of exculpatory evidence and fabrication of

  inculpatory evidence, tampering with witnesses, offering false documents and


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  testimony, arresting Mr. Jackson under false pretenses and impeding his access to

  counsel, assaulting him and coercing him into falsely confessing.

        174. The Zimmer-Baldwin Interview proves the existence of a conspiracy

  between Freeport and Nassau that extended from immediately after the homicide for

  many months and through plaintiff’s conviction. See DE #242.

        175. There were multiple overt acts, including the undisclosed Zimmer-

  Baldwin Interview and the Brady violation of its suppression.

        176. Another example of the coordinated effort between the Nassau County

  and Freeport Police Departments is the willful suppression of the Montes/Larrea

  statements, which the CIU noted were in both defendant police departments’ files but,

  for reasons described above, never revealed.

        177. These acts resulted in a violation of plaintiff’s rights to due process and to

  be free from unlawful search and seizure. Mr. Jackson was wrongfully convicted and

  spent decades in prison as a consequence.

        178. Accordingly, defendants violated the Fourth, Fifth, Sixth and Fourteenth

  Amendments because they conspired to deprive Mr. Jackson of his rights.

        179. As a direct and proximate result of this unlawful conduct, plaintiff

  sustained the damages hereinbefore alleged.



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                                  TENTH CLAIM
               Evidence Suppression / Brady Violations / Spoliation &
                             Denial of Access to Courts
                  In Violation of the 5th, 6th and 14th Amendments
                          (against all individual defendants)

        180. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

        181. Defendants deliberately suppressed and withheld evidence in violation

  of Brady, including, as described above:

               •   The Montes and Larrea Statements
               •   The 911 Call and associated records
               •   Swenson’s memo book and the Elisa Valdez information
               •   The Zimmer-Baldwin Interview

        182. Each act of suppression constitutes a violation of Brady.

        183. Further, the 911-related records were spoliated.

        184. The suppression and spoliation of evidence was calculated to secure

  plaintiff’s wrongful conviction and inhibit his ability to prove his innocence and

  fairly present his post-conviction claims and the instant civil action, in violation of

  the Constitution.

        185. As a direct and proximate result of this unlawful conduct, plaintiff

  sustained the damages hereinbefore alleged.




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                                 ELEVENTH CLAIM
                             Unlawful Pre-Trial Detention
                        In Violation of the 4th Amendment and
               Russo v. City of Bridgeport, 479 F.3d 196 (2d Cir. 2007)
                           (against all individual defendants)

        186. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

        187. Defendants’ failure to disclose exculpatory material, including the Montes

  and Larrea statements, the 911 evidence, the Zimmer-Baldwin Interview, and the

  information regarding Elisa Valdez and her companion, resulted in a pre-trial

  deprivation of plaintiff’s liberty in violation of the Fourth Amendment.

        188. As a direct and proximate result of this unlawful conduct, plaintiff

  sustained the damages hereinbefore alleged.

                                   TWELFTH CLAIM
                                    Failure to Intervene
                 (pled in the alternative against all individual defendants)

        189. Plaintiff repeats and realleges each and every allegation as if fully set forth

  herein.

        190. Those defendants that were present but did not actively participate in the

  aforementioned unlawful conduct observed such conduct, had an opportunity to

  prevent such conduct, had a duty to intervene and prevent such conduct and failed to

  intervene.


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        191. As a direct and proximate result of this unlawful conduct, plaintiff

  sustained the damages hereinbefore alleged.

                                PRAYER FOR RELIEF

        WHEREFORE, plaintiff respectfully requests judgment against defendants as

  follows:

        (a) Compensatory damages against all defendants, jointly and severally;

        (b) Punitive damages against the individual defendants, jointly and severally;

        (c) Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

        (d) Such other and further relief as this Court deems just and proper.

  Dated:       March 27, 2020
               New York, New York

                                          Elefterakis, Elefterakis & Panek


                                          ____________________________
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